                                                                                                                                                                                                        Page:       1
                                       Case 1:15-bk-10921                 Doc 39    Filed 07/26/19 Entered 07/26/19 14:43:46                                        Desc
                                                                                            FORM 1
                                                                        INDIVIDUAL ESTATEPage  1 of 4RECORD AND REPORT
                                                                                          PROPERTY
                                                                                                  ASSET CASES
Case No:              15-10921                         BAB            Judge:        Beth A. Buchanan                             Trustee Name:                       ERIC W. GOERING, Trustee
Case Name:            STUART MARSHALL FIELD                                                                                      Date Filed (f) or Converted (c):    03/13/2015 (f)
                      KATHLEEN MARIE FIELD                                                                                       341(a) Meeting Date:                04/22/2015
For Period Ending:    06/30/2019                                                                                                 Claims Bar Date:                    08/10/2015


                                   1                                                2                           3                             4                            5                            6

                         Asset Description                                       Petition/                Est Net Value               Property Formally              Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                   Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                    the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                                Assets
                                                                                                         and Other Costs)

  1. Residential Real Estate 458 Karenlaw Lane Cincinna                                  130,000.00                       0.00               OA                                       0.00                        FA
  2. Cash on hand                                                                            102.00                       0.00                                                        0.00                        FA
  3. Fith Third Bank Account                                                                 709.25                       0.00                                                        0.00                        FA
  4. Living room furniture $625, bedrooms $715, 2 telev                                    2,390.00                       0.00                                                        0.00                        FA
  5. Miscellanous books, pictures                                                             75.00                       0.00                                                        0.00                        FA
  6. Men's and women's clothing                                                              500.00                       0.00                                                        0.00                        FA
  7. Diamond ring                                                                            500.00                       0.00                                                        0.00                        FA
  8. 401K Champion Window , just started                                                       0.00                       0.00                                                        0.00                        FA
  9. 401K Office Depot                                                                         0.00                       0.00                                                        0.00                        FA
 10. 2003 Ford Taurus SES, 78,500 plus miles                                               2,262.00                       0.00                                                        0.00                        FA
 11. 1994 Ford Aerostar, 128,000 plus miles                                                2,050.00                       0.00                                                        0.00                        FA
 12. General garage items (shovels, lawn movers , weed                                       200.00                       0.00                                                        0.00                        FA
 13. 2014 tax refund seized by SS                                                              0.00                  5,431.00                                                         0.00                   5,431.00


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $138,788.25                 $5,431.00                                                      $0.00                    $5,431.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                Page:   2
                                     Case 1:15-bk-10921
pursuing tax refund seized by the Social Security Admin.
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sent letters to SSA for funds to be turned over 5/2015                                      Page 2 of 4
multiple calls to Nick Pantel regarding the SSA funds
sent letter to turnover 1/2016
sent letter 7/2016
filed complaint to turnover 12/7/16
Agreed Order with Nicholas Pantel regarding funds seized by Social Security money will be turned over in next 60 days 4/27/17
sent letter and agreed order to Nick Pantel 10/6/17
even though there was an agreed order, they turned money over to Debtors. 6/2018
contacting Debtors attorney to see what can be done



Initial Projected Date of Final Report (TFR): 12/31/2015          Current Projected Date of Final Report (TFR): 12/30/2019

Trustee Signature:      /s/ ERIC W. GOERING, Trustee          Date: 07/23/2019
                        ERIC W. GOERING, Trustee
                        220 W. THIRD STREET
                        Ste. 399
                        CINCINNATI, OH 45202

                        (513) 621-0912
                        EricG@fuse.net
                                                                                                                                                                                        Page:           1
                                    Case 1:15-bk-10921                Doc 39 Filed 07/26/19
                                                                                      FORM 2     Entered 07/26/19 14:43:46                            Desc
                                                                                    Page
                                                                  ESTATE CASH RECEIPTS AND3DISBURSEMENTS
                                                                                            of 4          RECORD
           Case No: 15-10921                                                                                       Trustee Name: ERIC W. GOERING, Trustee
      Case Name: STUART MARSHALL FIELD                                                                               Bank Name:
                    KATHLEEN MARIE FIELD                                                                    Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 06/30/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                  5                  6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                         ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                   $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                 $0.00                $0.00
                                                                                                      Subtotal                                        $0.00                $0.00
                                                                                                            Less: Payments to Debtors                 $0.00                $0.00
                                                                                                      Net                                             $0.00                $0.00




                                                                             Page Subtotals:                                                          $0.00                $0.00
                                                                                                                                                                  Page:     2
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                                                                                              TOTAL OF ALL ACCOUNTS
                                                                                                                                              NET             ACCOUNT
                                                                                                            NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                    -                                                                 $0.00                  $0.00                 $0.00
                                                                                                                      $0.00                  $0.00                 $0.00

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                Total Allocation Receipts:                       $0.00
                                                Total Net Deposits:                              $0.00
                                                Total Gross Receipts:                            $0.00



Trustee Signature:   /s/ ERIC W. GOERING, Trustee       Date: 07/23/2019

                     ERIC W. GOERING, Trustee
                     220 W. THIRD STREET
                     Ste. 399
                     CINCINNATI, OH 45202

                     (513) 621-0912
                     EricG@fuse.net




                                                                           Page Subtotals:                                       $0.00                $0.00
